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 1                                                                         The Honorable Ricardo S. Martinez
 2

 3

 4

 5

 6

 7
                                    UNITED STATES DISTRICT COURT
 8                                 WESTERN DISTRICT OF WASHINGTON
 9                                           AT SEATTLE

10   ROBERT KENNY,                                             Case No. 2:14-cv-01987-RSM

11                             Plaintiff,                      AMENDED STIPULATED
                                                               PROTECTIVE ORDER
12           v.
13
     PACIFIC INVESTMENT MANAGEMENT
14   COMPANY LLC, a Delaware limited liability
     company; PIMCO INVESTMENTS LLC,
15
                               Defendants.
16

17

18   1.      PURPOSES AND LIMITATIONS

19           Discovery in this action is likely to involve production of confidential, proprietary, or

20   private information for which special protection may be warranted. Accordingly, the parties
21   hereby stipulate to and petition the court to enter the following Stipulated Protective Order.
22
     The parties acknowledge that this agreement is consistent with LCR 26(c). It does not confer
23
     blanket protection on all disclosures or responses to discovery, the protection it affords from
24
     public disclosure and use extends only to the limited information or items that are entitled to
25

26   confidential treatment under the applicable legal principles, and it does not presumptively

                                               KELLER ROHRBACK L.L.P.                  RICHARDSON PATRICK
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     PROTECTIVE ORDER                           Seattle, W ashington 98101-3052          1017 Chuck Dawley Blvd.
                                                  TELEPHONE: (206) 623-1900        Mount Pleasant, South Carolina 29464
     (Case No. 2:14-cv-01987-RSM) -1               FACSIMILE: (206) 623-3384          TELEPHONE: (843) 727-6500
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 1   entitle parties to file confidential information under seal. The parties agree to be bound by the
 2
     terms of this agreement pending the entry by the Court of this agreement, and any violation of
 3
     its terms shall be subject to the same penalties and sanctions, as if this agreement had been
 4
     entered by the Court.
 5

 6   2.      “CONFIDENTIAL” MATERIAL

 7           “Confidential” material shall include the following documents and tangible things

 8   produced or otherwise exchanged by and among the parties and any non-parties to the above-
 9   captioned action:
10
             2.1.     All information of a personal or private nature (financial or otherwise) and all
11
                      information of a proprietary, financial, technical and/or commercially sensitive
12
                      nature of any sort, including but not limited to:
13
                      (a)      Materials prepared for or provided to an audit committee, governance
14

15                             committee, or board of trustees;

16                    (b)      Trade secrets and other proprietary technical, research, development,

17                             sales, and marketing information;
18
                      (c)      Financial, budgeting, and accounting information, including profit and
19
                               loss information;
20
                      (d)      Information about existing and potential customers and third parties with
21
                               whom a Disclosing Party had or is maintaining a business relationship,
22

23                             including, but not limited to, client, customer or shareholder names;

24                    (e)      Information regarding business strategies, decisions, and negotiations;

25                    (f)      Proprietary information about the parties’ affiliates, parents, and
26                             subsidiaries;
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 1                    (g)      Information of a private or personal nature, such as Social Security
 2
                               Numbers, health information, personal financial data, credit information,
 3
                               and employment information, including information contained in
 4
                               personnel or human resources records; and
 5

 6                    (h)      Proprietary business procedures, manuals, or policies.

 7   3.      SCOPE

 8           The protections conferred by this agreement cover not only confidential material (as
 9   defined above), but also (1) any information copied or extracted from confidential material; (2)
10
     all copies, excerpts, summaries, or compilations of confidential material; and (3) any testimony,
11
     conversations, or presentations by parties or their counsel that might reveal confidential
12
     material. However, the protections conferred by this agreement do not cover information that
13
     is in the public domain or becomes part of the public domain through trial or otherwise. This
14

15   Protective Order does not prohibit the producing party from disclosing its own Confidential

16   Information at any time for any purpose.

17   4.      ACCESS TO AND USE OF CONFIDENTIAL MATERIAL
18           4.1.     Basic Principles. A receiving party may use confidential material that is
19
                      disclosed or produced by another party or by a non-party in connection with this
20
                      case only for prosecuting, defending, or attempting to settle this litigation.
21
                      Confidential material may be disclosed only to the categories of persons and
22
                      under the conditions described in this agreement. Confidential material must be
23

24                    stored and maintained by a receiving party at a location and in a secure manner

25                    that ensures that access is limited to the persons authorized under this

26                    agreement.
                                                 KELLER ROHRBACK L.L.P.                 RICHARDSON PATRICK
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 1           4.2.     Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise
 2
                      ordered by the court or permitted in writing by the designating party, a receiving
 3
                      party may disclose any confidential material only to:
 4
                      (a)      the receiving party’s counsel of record in this action, as well as
 5

 6                             employees of counsel to whom it is reasonably necessary to disclose the

 7                             information for this litigation and who have been advised of their

 8                             obligations hereunder;
 9                    (b)      the officers, directors, and employees (including in house counsel) of the
10
                               receiving party to whom disclosure is reasonably necessary for this
11
                               litigation and who have been advised of their obligations hereunder;
12
                      (c)      experts and consultants to whom disclosure is reasonably necessary for
13

14                             this litigation and who have signed the “Acknowledgment and

15                             Agreement to Be Bound” (“Acknowledgment”) (Exhibit A);

16                    (d)      the court, court personnel, and court reporters and their staff;
17                    (e)      third-party vendors retained by counsel to assist in the hosting, copying,
18
                               or imaging of confidential material, provided that counsel for the party
19
                               retaining the hosting, copying, or imaging service instructs the service
20
                               not to disclose any confidential material to third parties and to
21
                               immediately return all originals and copies of any confidential material;
22

23                    (f)      during their depositions, witnesses in the action to whom disclosure is

24                             reasonably necessary and who have signed the “Acknowledgment and

25                             Agreement to Be Bound” (Exhibit A), unless otherwise agreed by the
26
                               designating party or ordered by the court. However, no
                                                  KELLER ROHRBACK L.L.P.                RICHARDSON PATRICK
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 1                             Acknowledgment is required when the disclosure is from the receiving
 2
                               party to any of the following of the designating party: current directors,
 3
                               trustees, officers, employees, or representatives; current affiliates or
 4
                               affiliates of affiliates; or entities under common control with the
 5

 6                             designating party. Pages of transcribed deposition testimony or exhibits

 7                             to depositions that reveal confidential material must be separately bound

 8                             by the court reporter and may not be disclosed to anyone except as
 9                             permitted under this agreement;
10
                      (g)      the author or recipient of a document containing the information or a
11
                               custodian or other person who otherwise possessed or knew the
12
                               information.
13

14           4.3.     Filing Confidential Material. Before filing confidential material or discussing or

15                    referencing such material in court filings, the filing party shall confer with the

16                    designating party to determine whether the designating party will remove the
17                    confidential designation, whether the document can be redacted, or whether a
18
                      motion to seal or stipulation and proposed order is warranted. Local Civil Rule
19
                      5(g) sets forth the procedures that must be followed and the standards that will
20
                      be applied when a party seeks permission from the court to file material under
21
                      seal.
22

23   5.      DESIGNATING PROTECTED MATERIAL

24           5.1.     Exercise of Restraint and Care in Designating Material for Protection. Each

25                    party or non-party that designates information or items for protection under this
26                    agreement must take care to limit any such designation to specific material that
                                                  KELLER ROHRBACK L.L.P.                 RICHARDSON PATRICK
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 1                    qualifies under the appropriate standards. The designating party must designate
 2
                      for protection only those parts of material, documents, items, or oral or written
 3
                      communications that qualify, so that other portions of the material, documents,
 4
                      items, or communications for which protection is not warranted are not swept
 5

 6                    unjustifiably within the ambit of this agreement.

 7                    Mass, indiscriminate, or routinized designations are prohibited. Designations

 8                    that are shown to be clearly unjustified or that have been made for an improper
 9                    purpose (e.g., to unnecessarily encumber or delay the case development process
10
                      or to impose unnecessary expenses and burdens on other parties) expose the
11
                      designating party to sanctions.
12
                      If it comes to a designating party’s attention that information or items that it
13

14                    designated for protection do not qualify for protection, the designating party

15                    must promptly notify all other parties that it is withdrawing the mistaken

16                    designation.
17           5.2.     Manner and Timing of Designations. Except as otherwise provided in this
18
                      agreement (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
19
                      stipulated or ordered, disclosure or discovery material that qualifies for
20
                      protection under this agreement must be clearly so designated before or when
21
                      the material is disclosed or produced.
22

23                    (a)      Information in documentary form: (e.g., paper or electronic documents

24                             and deposition exhibits, but excluding transcripts of depositions or other

25                             pretrial or trial proceedings), the designating party must affix the word
26
                               “CONFIDENTIAL” to each page that contains confidential material. If
                                                  KELLER ROHRBACK L.L.P.                RICHARDSON PATRICK
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 1                             only a portion or portions of the material on a page qualifies for
 2
                               protection, the producing party also must clearly identify the protected
 3
                               portion(s) (e.g., by making appropriate markings in the margins).
 4
                      (b)      Testimony given in deposition or in other pretrial or trial proceedings:
 5

 6                             the parties must identify on the record, during the deposition, hearing, or

 7                             other proceeding, all protected testimony, without prejudice to their right

 8                             to so designate other testimony after reviewing the transcript. Any party
 9                             or non-party may, within fifteen days after receiving a deposition
10
                               transcript, designate portions of the transcript, or exhibits thereto, as
11
                               confidential.
12
                      (c)      Other tangible items: the producing party must affix in a prominent place
13

14                             on the exterior of the container or containers in which the information or

15                             item is stored the word “CONFIDENTIAL.” If only a portion or

16                             portions of the information or item warrant protection, the producing
17                             party, to the extent practicable, shall identify the protected portion(s).
18
             5.3.     Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to
19
                      designate qualified information or items does not, standing alone, waive the
20
                      designating party’s right to secure protection under this agreement for such
21
                      material. Upon timely correction of a designation, the receiving party must
22

23                    make reasonable efforts to ensure that the material is treated in accordance with

24                    the provisions of this agreement.

25

26
                                                  KELLER ROHRBACK L.L.P.                 RICHARDSON PATRICK
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 1   6.      CHALLENGING CONFIDENTIALITY DESIGNATIONS
 2
             6.1.     Timing of Challenges. Any party or non-party may challenge a designation of
 3
                      confidentiality at any time. Unless a prompt challenge to a designating party’s
 4
                      confidentiality designation is necessary to avoid foreseeable, substantial
 5

 6                    unfairness, unnecessary economic burdens, or a significant disruption or delay

 7                    of the litigation, a party does not waive its right to challenge a confidentiality

 8                    designation by electing not to mount a challenge promptly after the original
 9                    designation is disclosed.
10
             6.2.     Meet and Confer. The parties must make every attempt to resolve any dispute
11
                      regarding confidential designations without court involvement. Any motion
12
                      regarding confidential designations or for a protective order must include a
13
                      certification, in the motion or in a declaration or affidavit, that the movant has
14

15                    engaged in a good faith meet and confer conference with other affected parties

16                    in an effort to resolve the dispute without court action. The certification must

17                    list the date, manner, and participants to the conference. A good faith effort to
18
                      confer requires a face-to-face meeting or a telephone conference.
19
             6.3.     Judicial Intervention. If the parties cannot resolve a challenge without court
20
                      intervention, the designating party may file and serve a motion to retain
21
                      confidentiality under Local Civil Rule 7 (and in compliance with Local Civil
22

23                    Rule 5(g), if applicable) within 14 days of the parties agreeing that the meet and

24                    confer process will not resolve their dispute (or any additional period agreed to,

25                    in writing, by the receiving party). The burden of persuasion in any such motion
26                    shall be on the designating party. Frivolous challenges, and those made for an
                                                  KELLER ROHRBACK L.L.P.                RICHARDSON PATRICK
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 1                    improper purpose (e.g., to harass or impose unnecessary expenses and burdens
 2
                      on other parties) may expose the challenging party to sanctions. All parties shall
 3
                      continue to maintain the material in question as confidential until the court rules
 4
                      on the challenge.
 5

 6   7.      MOTIONS TO SEAL

 7           7.1.     The parties shall comply with the provisions of Local Rule 5(g) on Sealing and

 8                    Redacting of Court Records.
 9   8.      NON-PARTIES
10           8.1.     Non-parties that produce documents or provide deposition testimony in this
11
                      Litigation in response to a subpoena or otherwise may designate the documents
12
                      or testimony provided by them as Confidential Information or Highly
13
                      Confidential Information—Attorneys’ Eyes Only in the manner provided in this
14

15                    Protective Order, and may fully avail themselves of the protections afforded to

16                    parties under this Protective Order by executing the acknowledgement form

17                    attached hereto as Exhibit B.
18           8.2.     Non-parties required to produce documents or provide deposition testimony in
19
                      this Litigation pursuant to a court order may designate the documents or
20
                      testimony provided by them as “Highly Confidential Information—Attorneys’
21
                      Eyes Only” for extremely sensitive “Confidential Information or Items” whose
22
                      disclosure to another Party or nonparty would create a substantial risk of serious
23

24                    injury that could not be avoided by less restrictive means (e.g., documents which

25                    a non-party asserts are protected by the attorney-client privilege). For such

26                    documents or deposition testimony, the provisions in this Protective Order shall
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 1                    apply except that disclosure of “Highly Confidential Information—Attorneys’
 2
                      Eyes Only” material may only be disclosed by a Receiving Party to the
 3
                      following:
 4
                      (a)      the Receiving Party’s Outside Counsel of record in this action, as well as
 5

 6                             employees of said Counsel to whom it is reasonably necessary to

 7                             disclose the information for this litigation;

 8                    (b)      Experts (as defined in this Order) (1) to whom disclosure is reasonably
 9                             necessary for this litigation, and (2) who have signed the “Agreement to
10
                               Be Bound by Protective Order” (Exhibit A);
11
                      (c)      the Court and its personnel;
12
                      (d)      court reporters, their staffs, and professional vendors to whom disclosure
13

14                             is reasonably necessary for this litigation and who have signed the

15                             “Agreement to Be Bound by Protective Order” (Exhibit A); and

16                    (e)      the author of the document or the original source of the information;
17                    (f)      during their depositions, witnesses in the action to whom disclosure is
18
                               reasonably necessary and who have signed the “Agreement to Be Bound
19
                               by Protective Order” (Exhibit A). Pages of transcribed deposition
20
                               testimony or exhibits to depositions that reveal Protected Material must
21
                               be separately bound by the court reporter and may not be disclosed to
22

23                             anyone except as permitted under this Stipulated Protective Order.

24                    (g)      The Receiving Party shall be responsible for securing the “Agreement to

25                             Be Bound by Protective Order” required pursuant to subsection (b),
26
                               vendors under subsection (d) of this provision, and under subsection (f),
                                                  KELLER ROHRBACK L.L.P.                 RICHARDSON PATRICK
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 1                             for any witnesses it produces for a deposition .The Designating Party
 2
                               shall be responsible for securing the “Agreement to Be Bound by
 3
                               Protective Order” required pursuant to subsection (d) for court reporters
 4
                               or their staffs and, for the purpose of subsection (f), for any witnesses it
 5

 6                             produces for a deposition in addition to any third party witnesses.

 7           8.3.     Notwithstanding the foregoing provisions of Section 8, with regard to any

 8                    disclosure of documents or testimony that would divulge privileged
 9                    communications that fall within the fiduciary exception to the attorney-client
10
                      privilege as recognized in the Court’s November 21, 2016 Order granting
11
                      Plaintiff’s Second Motion to Compel (Dkt No. 140), the procedures set forth in
12
                      the Stipulation and Order Re: Independent Trustee Discovery (Dkt. No. 141-1),
13

14                    shall apply.

15   9.      PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER
             LITIGATION
16
             If a party is served with a subpoena or a court order issued in other litigation that
17
     compels disclosure of any information or items designated in this action as
18

19   “CONFIDENTIAL,” that party must:

20                    (a)      promptly notify the designating party in writing and include a copy of

21                             the subpoena or court order and shall not produce any confidential
22                             material in response to the subpoena or court order until the passage of
23
                               five (5) business days after notice to the designating party (to provide the
24
                               designating party to take any steps available to it under the law to
25
                               challenge the subpoena or court order);
26
                                                  KELLER ROHRBACK L.L.P.                 RICHARDSON PATRICK
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 1                    (b)      promptly notify in writing the party who caused the subpoena or order to
 2
                               issue in the other litigation that some or all of the material covered by the
 3
                               subpoena or order is subject to this agreement. Such notification shall
 4
                               include a copy of this agreement; and
 5

 6                    (c)      cooperate with respect to all reasonable procedures sought to be pursued

 7                             by the designating party whose confidential material may be affected.

 8   10.     UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
 9           If a receiving party learns that, by inadvertence or otherwise, it has disclosed
10
     confidential material to any person or in any circumstance not authorized under this agreement,
11
     the receiving party must immediately (a) notify in writing the designating party of the
12
     unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized copies of the
13
     protected material, (c) inform the person or persons to whom unauthorized disclosures were
14

15   made of all the terms of this agreement, and (d) request that such person or persons execute the

16   “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit A.

17   11.     INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED
             MATERIAL
18
             When a producing party gives notice to receiving parties that certain inadvertently
19

20   produced material is subject to a claim of privilege or other protection, the obligations of the

21   receiving parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B) and Section
22   D of the Agreement Regarding Discovery of Electronically-Stored Information and Order dated
23
     November 19, 2015 (“ESI Agreement”). If the parties cannot resolve a dispute with regard to
24
     the inadvertent production of any document and its return under Section D of the ESI
25
     Agreement, the procedure set forth in Section 6.3 shall apply, and the producing party shall
26
                                                  KELLER ROHRBACK L.L.P.                RICHARDSON PATRICK
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 1   have the burden of persuasion under Rule of Evidence 502(b). This provision is not intended to
 2
     modify whatever procedure may be established in an e-discovery order or agreement that
 3
     provides for production without prior privilege review.
 4
     12.     NON TERMINATION AND RETURN OF DOCUMENTS
 5

 6           Within 60 days after the termination of this action, including all appeals, each receiving

 7   party must return all confidential material to the producing party, including all copies, extracts

 8   and summaries thereof. Alternatively, the parties may agree upon appropriate methods of
 9   destruction.
10
             Notwithstanding this provision, counsel are entitled to retain one archival copy of all
11
     documents filed with the court, trial, deposition, and hearing transcripts, correspondence,
12
     deposition and trial exhibits, expert reports, attorney work product, and consultant and expert
13
     work product, even if such materials contain confidential material.
14

15           The confidentiality obligations imposed by this agreement shall remain in effect until a

16   designating party agrees otherwise in writing or a court orders otherwise.

17           IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
18
             Dated this 15th day of February, 2016.
19
     By:   s/ Michael D. Woerner                           By: s/ Ronald L. Berenstain
20   By:   s/ Tana Lin                                         s/ David F. Taylor
     By:   s/ Laura R. Gerber                                  s/ Sean C. Knowles
21   By:   s/ Ian Mensher
                                                                 Ronald L. Berenstain, WSBA No. 7573
22   Michael D. Woerner, WSBA No. 15452                          David F. Taylor, WSBA No. 25689
23   Tana Lin, WSBA No. 35271                                    Sean C. Knowles, WSBA No. 39893
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26   Telephone: 206-623-1900                                     Email: rberenstain@perkinscoie.com
                                               KELLER ROHRBACK L.L.P.                 RICHARDSON PATRICK
     AMENDED STIPULATED                          1201 Third Avenue, Suite 3200     WESTBROOK & BRICKMAN, LLC
     PROTECTIVE ORDER                           Seattle, W ashington 98101-3052         1017 Chuck Dawley Blvd.
                                                  TELEPHONE: (206) 623-1900       Mount Pleasant, South Carolina 29464
     (Case No. 2:14-cv-01987-RSM) -13              FACSIMILE: (206) 623-3384         TELEPHONE: (843) 727-6500
                                                                                      FACSIMILE: (843) 881-6183
             Case 2:14-cv-01987-RSM Document 144 Filed 02/22/17 Page 14 of 16



 1   Facsimile: 206-623-3384                                            dftaylor@perkinscoie.com
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 3          lgerber@kellerrohrback.com
            imensher@kellerrohrback.com
 4
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 5   Richardson, Patrick, Westbrook &                 Robert A. Skinner (Admitted Pro Hac Vice)
 6   Brickman, LLC                                    Amy D. Roy (Admitted Pro Hac Vice)
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     Email: nfields@rpwb.com                          Management Company LLC and PIMCO
18
            jbradley@rpwb.com                         Investments LLC
19          mnickles@rpwb.com

20   Attorneys for Plaintiff

21          PURSUANT TO STIPULATION, IT IS SO ORDERED
22   DATED: February 22, 2017


                                                A
23

24
                                                RICARDO S. MARTINEZ
25                                              CHIEF UNITED STATES DISTRICT JUDGE
26
                                           KELLER ROHRBACK L.L.P.                 RICHARDSON PATRICK
     AMENDED STIPULATED                     1201 Third Avenue, Suite 3200      WESTBROOK & BRICKMAN, LLC
     PROTECTIVE ORDER                      Seattle, W ashington 98101-3052          1017 Chuck Dawley Blvd.
                                             TELEPHONE: (206) 623-1900        Mount Pleasant, South Carolina 29464
     (Case No. 2:14-cv-01987-RSM) -14         FACSIMILE: (206) 623-3384          TELEPHONE: (843) 727-6500
                                                                                  FACSIMILE: (843) 881-6183
             Case 2:14-cv-01987-RSM Document 144 Filed 02/22/17 Page 15 of 16



 1                                              EXHIBIT A
 2
                     ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3
             I, _________________________________ [print or type full name], of
 4
     _______________________ [print or type full address], declare under penalty of perjury that I
 5
     have read in its entirety and understand the Stipulated Protective Order that was issued by the
 6

 7   United States District Court for the Western District of Washington on [date] in the

 8   case of Robert Kenny v. Pacific Investment Management Company LLC, et al, W.D.Wash. No.

 9   2:14-cv-01987-RSM. I agree to comply with and to be bound by all the terms of this Stipulated
10   Protective Order and I understand and acknowledge that failure to so comply could expose me
11
     to sanctions and punishment in the nature of contempt. I solemnly promise that I will not
12
     disclose in any manner any information or item that is subject to this Stipulated Protective
13
     Order to any person or entity except in strict compliance with the provisions of this Order.
14

15           I further agree to submit to the jurisdiction of the United States District Court for the

16   Western District of Washington for the purpose of enforcing the terms of this Stipulated

17   Protective Order, even if such enforcement proceedings occur after termination of this action.
18
     Date: ______________________________
19

20   City and State where sworn and signed: ________________________________

21   Printed name: _______________________________
22   Signature: __________________________________
23

24

25

26
                                                KELLER ROHRBACK L.L.P.                RICHARDSON PATRICK
     AMENDED STIPULATED                          1201 Third Avenue, Suite 3200     WESTBROOK & BRICKMAN, LLC
     PROTECTIVE ORDER                           Seattle, W ashington 98101-3052         1017 Chuck Dawley Blvd.
                                                  TELEPHONE: (206) 623-1900       Mount Pleasant, South Carolina 29464
     (Case No. 2:14-cv-01987-RSM) -15              FACSIMILE: (206) 623-3384         TELEPHONE: (843) 727-6500
                                                                                      FACSIMILE: (843) 881-6183
             Case 2:14-cv-01987-RSM Document 144 Filed 02/22/17 Page 16 of 16



 1                                           EXHIBIT B
 2
     ____________________________ is producing documents pursuant to subpoena in the above-
 3
     captioned case (the “Lawsuit”). _________________________ shall be bound by, and the
 4
     documents produced pursuant to subpoena in the Lawsuit shall be treated in accordance with,
 5

 6   the Amended Protective Order entered in the Lawsuit on ______________________, 2017.

 7

 8   Dated: ___________________________
            _____________________________
 9                                                                      [Name]
10
                                                                        By:_________________________
11
                                                                        Its:__________________________
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                                            KELLER ROHRBACK L.L.P.                   RICHARDSON PATRICK
     AMENDED STIPULATED                       1201 Third Avenue, Suite 3200       WESTBROOK & BRICKMAN, LLC
     PROTECTIVE ORDER                        Seattle, W ashington 98101-3052           1017 Chuck Dawley Blvd.
                                               TELEPHONE: (206) 623-1900         Mount Pleasant, South Carolina 29464
     (Case No. 2:14-cv-01987-RSM) -16           FACSIMILE: (206) 623-3384           TELEPHONE: (843) 727-6500
                                                                                     FACSIMILE: (843) 881-6183
